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 5                            UNITED STATES DISTRICT COURT
 6                           SOUTHERN DISTRICT OF CALIFORNIA
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 8                                                   Case No.: 18-CV-0840-GPC-BGS
       IN RE: OUTLAW LABORATORIES, LP
 9
       LITIGATION,                                   ORDER (1) DENYING AS MOOT
10                                                   COUNTER-DEFENDANT’S
                                                     MOTION FOR LEAVE TO APPEAR
11
                                                     REMOTELY AT JULY 15 STATUS
12                                                   CONFERENCE, AND (2)
                                                     CONVERTING STATUS
13
                                                     CONFERENCE TO TELEPHONIC
14                                                   STATUS CONFERENCE
15
                                                     [ECF No. 405]
16
17          On July 12, 2022, counsel for Counter-Defendant filed a motion requesting to appear
18    remotely at the July 15, 2022 status conference. ECF No. 405. Counter-Defendant’s
19    motion is DENIED as moot. The Court hereby ORDERS that the status conference be
20    converted to a telephonic conference for all participants. Participants can access the
21    telephonic status conference by using the USA Toll-Free Phone Number: (877) 848-7030;
22    Access Code: 7030611.
23          IT IS SO ORDERED.
24    Dated: July 13, 2022
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28                                                                           18-CV-0840-GPC-BGS
